           Case 2:11-cr-00354-TLN Document 35 Filed 05/11/12 Page 1 of 3


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     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     OSCAR GOMEZ GORIBALDO
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      CR. S-11-354-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE: June 19, 2012
     EVARISTO ARREOLA-VENTURA, et )      TIME: 9:15 a.m.
15   al.,                         )      JUDGE: Hon. Lawrence K. Karlton
                                  )
16                Defendants.
     __________________________
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant
20   OSCAR GOMEZ GORIBALDO by and through his counsel, BENJAMIN GALLOWAY,
21   Assistant Federal Defender and defendant EVARISTO ARREOLA-VENTURA, by
22   and through his attorney, OLAF HEDBERG, that the status conference set
23   for Tuesday, May 15, 2012, be continued to Tuesday, June 19, 2012, at
24   9:15 a.m., for status conference.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
           Case 2:11-cr-00354-TLN Document 35 Filed 05/11/12 Page 2 of 3


 1   stipulation, May 15, 2012, through and including the date of the new
 2   status conference, June 19, 2012, shall be excluded from computation of
 3   time within which the trial of this matter must be commenced under the
 4   Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(B)(iv)and Local
 5   Code T4 [reasonable time for defense counsel to prepare], and that the
 6   ends of justice served by the granting of such continuance outweigh the
 7   interests of the public and the defendant in a speedy trial.
 8   DATED: May 10, 2012                  Respectfully submitted,
 9                                        DANIEL J. BRODERICK
                                          Federal Defender
10
                                          /s/ Benjamin Galloway
11                                        BENJAMIN GALLOWAY
                                          Assistant Federal Defender
12                                        Attorney for Defendant
                                          OSCAR GOMEZ GORIBALDO
13
14
                                          /s/ Benjamin Galloway for
15                                        OLAF HEDBERG
                                          Attorney for Defendant
16                                        EVARISTO ARREOLA-VENTURA
17
     DATED: May 10, 2012                  BENJAMIN B. WAGNER
18                                        United States Attorney
19                                        /s/ Benjamin Galloway for
                                          TODD LERAS
20                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
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22
23                                  O R D E R
24      Based on the stipulation of the parties and good cause appearing
25   therefrom, the Court hereby adopts the stipulation of the parties in
26   its entirety as its order.     It is hereby ordered that the presently set
27   May 15, 2012, status conference shall be continued to June 19, 2012, at
28   9:15 a.m..   It is further ordered that the time period from the date of


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           Case 2:11-cr-00354-TLN Document 35 Filed 05/11/12 Page 3 of 3


 1   the parties' stipulation, May 10, 2012, through and including the date
 2   of the new status conference hearing, June 19, 2012, shall be excluded
 3   from computation of time within which the trial of this matter must be
 4   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161
 5   (h)(7)(B)(iv) and Local Code T4 [reasonable time for defense counsel to
 6   prepare].
 7      Based on the stipulation of the parties and good cause appearing
 8   therefrom, the Court hereby finds that the failure to grant a
 9   continuance in this case would deny defense counsel reasonable time for
10   effective preparation taking into account the exercise of due
11   diligence.   The Court specifically finds that the ends of justice
12   served by the granting of such continuance outweigh the interests of
13   the public and the defendant in a speedy trial.
14      IT IS SO ORDERED.
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     DATED: May 11, 2012
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